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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
   TAJANAE ANDERSON, on behalf of herself              :
   and others similarly situated,                      :      2:20-cv-03014-RAL
                                                       :
                       v.                              :
                                                       :
   LIBERTY HEALTHCARE CORPORATION                      :
   and SARGENT’S PERSONNEL AGENCY,                     :
   INC.                                                :

                                                       :
   CRISTINE WILLIAMS, on behalf of herself and         :
   others similarly situated,                          :      2:21-cv-00691-RAL
                              Plaintiff,               :
                                                       :
                        v.
                                                       :
                                                       :
   LIBERTY HEALTHCARE CORPORATION                      :
   and ADVANCE SOURCING CONCEPTS LLC                   :
                                                       :

                 COLLECTIVE ACTION SETTLEMENT AGREEMENT


       Originating Plaintiffs (as defined below) and Defendants (as defined below) STIPULATE

and AGREE as follows:

       1.     Definitions. The following terms have the following meanings:

        “Actions” means the above-captioned actions.

       “Agreement” means this “Collective Action Settlement Agreement.”

       “Approval Date” means the date on which the Court enters an order approving the

Settlement as fair and reasonable and dismissing the Actions with prejudice.

       “Approval Motion” means the motion to be filed by Plaintiffs’ Counsel attaching a copy

of the Agreement and requesting that the Court enter an order approving the Settlement as fair

and reasonable and dismissing the Actions with prejudice.
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       “Court” means the United States District Court for the Eastern District of Pennsylvania.

       “Defendants” means Liberty Healthcare Corporation, Sargent’s Personnel Agency, Inc.,

and Advance Sourcing Concepts LLC.

       “Defense Counsel” means Liberty Counsel and Sargent’s/Advance Counsel.

       “Employer-Side Taxes” means those payroll taxes and withholdings ordinarily borne by

employer’s pursuant to ordinary payroll practices (e.g., the employer’s share of FICA, FUTA,

and state unemployment taxes).

       “Liberty Counsel” means Marshall Dennehey Warner Coleman & Googin, P.C.

       “Originating Plaintiffs” means Tajanae Anderson and Cristine Williams.

        “Parties” means Plaintiffs and Defendants.

       “Payor” means the entity or entities chosen by Defendants to make payments and issue

IRS W-2 or IRS 1099 Forms required under this Agreement. Nothing prevents a Defendant from

serving as a Payor.

       “Payout Amount” means, for each Plaintiff, the amount listed on Exhibit A. The listed

amounts assume the Court will approve Plaintiffs’ Counsel’s request for $169,000.00 in

combined attorney’s fees and litigation expenses and for $5,000.00 service awards to each

Originating Plaintiff. If the Court disapproves any portion of the requested fees, expenses, or

service awards, each Plaintiff’s Payout Amount will be increased by an amount representing

his/her pro rata share of the disapproved monies.

       “Payment Date” means 28 calendar days after the Approval Date.

       “Plaintiffs” means Originating Plaintiffs and the other 48 individuals who have joined

this action pursuant to 29 U.S.C. § 216(b). The 50 Plaintiffs are listed in Exhibit A.

       “Plaintiffs’ Counsel” means Winebrake & Santillo, LLC.
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        “Release Form” means the form attached as Exhibit B.

        “Released Parties” means Defendants and any of their parents, franchisors, partners,

subsidiaries, owners, officers, directors, affiliates, predecessors, agents, employees, successors,

assigns, representatives, and/or other persons or entities acting on Defendants’ behalf.

        “Sargent’s/Advance Counsel” means Margolis Edelstein.

        “Settlement” means the terms and conditions described in this Agreement.

        2.     Maximum Payment Amount. Defendants’ total payment under this Settlement

will not under any circumstances exceed $585,000.00 plus any Employer-Side Taxes associated

with the Payout Amounts.

        3.     Condition Precedent. This Settlement is conditioned on passage of the Approval

Date.

        4.     Release. Upon passage of the Approval Date and Defendants’ fulfillment of all

payment obligations arising under this Agreement, each Plaintiff (on behalf of himself/herself

and his/her heirs, spouses, executors, assigns, and representatives) who signs a Release Form

releases and forever discharges the Released Parties from all legal or equitable claims (including,

but not limited to, claims for the reimbursement of liquidated damages, interest, penalties,

attorney’s fees and litigation costs and expenses) arising prior to the Approval Date and either

asserted in or reasonably related to the Actions, including all such claims for unpaid regular or

overtime wages under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq., the Pennsylvania

Minimum Wage Act, 43 P.S. §§ 333.101, et seq., the Pennsylvania Wage Payment and

Collection Law, 43 P.S. §§ 260.1, et seq., or any other federal, state, or local statute, regulation,

rule, or common law theory. In addition, each Defendant releases and forever discharges any

cross-claims that relate to the subject matter of the Action and have been or could have been
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asserted against any other Defendant.

       5.      Payments to Plaintiffs. By the Payment Date, Payor will issue to each Plaintiff

who has returned a signed Release Form and an IRS W-4 Form a payroll check in the gross

amount his/her Payout Amount 1 for which an IRS W-2 form will issue. These checks will be

delivered to Plaintiffs’ Counsel, who will promptly mail or deliver the checks to each Plaintiff

for whom a check has been issued. As reflected in the Release Form, each Plaintiff is solely

responsible for the payment of any taxes associated with his/her payment. If any check remains

uncashed 140 calendar days after the Payment Date, Payor may issue a stop payment on the

check and retain the associated funds.

       6.      Payments to Plaintiffs’ Counsel. Plaintiffs’ Counsel will seek (and Defendants

will not oppose) Court approval of attorney’s fees and expenses totaling $179,000.00.

Moreover, Plaintiffs’ motion for judicial approval of the settlement will prominently seek the

Court’s permission to pay from the total amount of any Court-approved fees and expenses

$5,000.00 service awards to each Originating Plaintiff. By the Payment Date, Payor will mail to

Plaintiffs’ Counsel a non-payroll check made payable to Plaintiffs’ Counsel and equaling any

Court-approved payment to Plaintiffs’ Counsel. Payor will issue to Plaintiffs’ Counsel an IRS

1099 Form reflecting such payment, and Plaintiffs’ Counsel is solely responsible for the payment

of any taxes associated with such payment. Moreover, if the Court allows Plaintiffs’ Counsel to

make service award payments to the Originating Plaintiffs, Plaintiffs’ Counsel shall be solely

responsible for issuing IRS 1099 Forms to each Originating Plaintiff reflecting such service

award payments, and Plaintiff’s Counsel and Originating Plaintiffs shall be solely responsible for



1
  The gross amount (i) will be reduced by all taxes and withholdings ordinarily borne by
employees pursuant to Payor’s ordinary payroll practices and (ii) will not be reduced by
Employer-Side Taxes.
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the payment of taxes associated with such service award payments.

       7.      Entire Agreement. This Agreement embodies the entire agreement between

Plaintiffs (on one hand) and Defendants (on the other hand) and controls over any prior

communications. In entering into the Settlement, no Plaintiff has relied on any representations

by Defendants not explicitly contained in this Agreement.

       8.      Communications with Media. Originating Plaintiffs and Plaintiffs’ Counsel will

refrain from issuing any press release addressing the Settlement or contacting media

representatives. If contacted by media representatives, Originating Plaintiffs and Plaintiffs’

Counsel may state that the Parties amicably resolved the dispute and may direct the media

representative to the public record.

       9.      Successors. The Settlement and this Agreement will inure to the benefit of and

be binding upon the Parties’ heirs and successors.

       10.     No Admissions. Nothing in this Agreement constitutes an admission or

suggestion of liability by any Party. Defendants deny any wrongdoing and continue to assert

that, absent this Settlement, they ultimately would prevail in the Action.

       11.     Court Approval Not Obtained. If the Court does not approve the Settlement,

the Parties’ litigation positions will return to the status quo ante and, for example, Defendants

will not have waived, compromised, or impacted any objections or defenses to Plaintiffs’ legal

claims or the propriety of collective litigation. Nor will Defendant have waived, compromised,

or impacted their cross-claims against each other or any defenses to such cross-claims.

       12.     Duty to Defend.     The Parties will cooperate to accomplish the terms of this

Agreement in a reasonable, practicable, and expeditious manner.

       13.     Warranty of Authority. Each signatory to this Agreement warrants and
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            represents that he/she is competent and authorized to enter into this Agreement on behalf of the

            Party that he/she purports to represent.

                     14.       Applicable Law. This Agreement is governed and construed pursuant to

            Pennsylvania law.

                     15.       Written Modifications. This Agreement may not       be modified except by a

            written agreement signed by all Parties and approval by the Court.

                     16.       Execution. This Agreement may be executed in counterparts that, taken together,

            will constitute the entire Agreement.       Signatures to this Agreement may be transmitted by

            facsimile or electronic scan, and such signatures shall be deemed legally valid and binding upon

            the Parfy transmising the same, and such signatures shall be treated as originals.

                    IN WITIIESS WHEREOF, and intending to be legally bound, the Parties execute this

            Agreement on the dates indicated below:
                         by:


                                                                               9/24/2O2L

            Tajanae Anderson                                                Date


           Cristine Williams                                                Date


           For Winebrake & Santillo, LLC                                    Date


           For Liberty Healthcare Corporation                               Date

                                                                             qlLqll.rrt
           F or Sargent's                        Inc.                       Date


           For Advance Sourcing Concepts LLC                                Date
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            represents that he/she is competent and authorized to enter into this Agreement on behalf of the

            Party that he/she purports to represent.

                     14.     Applicable Law. This Agreement is governed and construed pursuant to

            Pennsylvania law.

                     15.     Written Modifications. This Agreement may not be modified except by a

            written agreement signed by all Parties and approval by the Court.

                     16.     Execution. This Agreement may be executed in counterparts that, taken together,

            will constitute the entire Agreement. Signatures to this Agreement may be transmitted by

            facsimile or electronic scan, and such signatures shall be deemed legally valid and binding upon

            the Party transmitting the same, and such signatures shall be treated as originals.

                     IN WITNESS WHEREOF, and intending to be legally bound, the Parties execute this

            Agreement on the dates indicated below:


            ______________________                                       _______________
            Tajanae Anderson                                             Date
                                                                             9/28/2021
            ______________________                                       _______________
            Cristine Williams                                            Date

            ______________________________                               _______________
            For Winebrake & Santillo, LLC                                Date

            ______________________________                               _______________
            For Liberty Healthcare Corporation                           Date

            ______________________________                               _______________
            For Sargent’s Personnel Agency, Inc.                         Date

            ______________________________                               _______________
            For Advance Sourcing Concepts LLC                            Date
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represents that he/she is competent and authorized to enter into this Agreement on behalf of the

Party that he/she purports to represent.

       14.     Applicable Law. This Agreement is governed and construed pursuant to

Pennsylvania law.

       15.     Written Modifications. This Agreement may not be modified except by a

written agreement signed by all Parties and approval by the Court.

       16.     Execution. This Agreement may be executed in counterparts that, taken together,

will constitute the entire Agreement. Signatures to this Agreement may be transmitted by

facsimile or electronic scan, and such signatures shall be deemed legally valid and binding upon

the Party transmitting the same, and such signatures shall be treated as originals.

       IN WITNESS WHEREOF, and intending to be legally bound, the Parties execute this

Agreement on the dates indicated below:


______________________                                       _______________
Tajanae Anderson                                             Date

______________________                                       _______________
Cristine Williams                                            Date



______________________________                               September 27, 2021
For Winebrake & Santillo, LLC                                Date

______________________________                               _______________
For Liberty Healthcare Corporation                           Date

______________________________                               _______________
For Sargent’s Personnel Agency, Inc.                         Date

______________________________                               _______________
For Advance Sourcing Concepts LLC                            Date
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represents that he/she is competent and authorized to enter into this Agreement on behalf of the

Party that he/she purports to represent.

       14.     Applicable Law. This Agreement is governed and construed pursuant to

Pennsylvania law.

       15.     Written Modifications. This Agreement may not be modified except by a

written agreement signed by all Parties and approval by the Court.

       16.     Execution. This Agreement may be executed in counterparts that, taken together,

will constitute the entire Agreement. Signatures to this Agreement may be transmitted by

facsimile or electronic scan, and such signatures shall be deemed legally valid and binding upon

the Party transmitting the same, and such signatures shall be treated as originals.

       IN WITNESS WHEREOF, and intending to be legally bound, the Parties execute this

Agreement on the dates indicated below:


______________________                                       _______________
Tajanae Anderson                                             Date

______________________                                       _______________
Cristine Williams                                            Date

______________________________                               _______________
For Winebrake & Santillo, LLC                                Date

______________________________                               _______________
For Liberty Healthcare Corporation                           Date

______________________________                               _______________
For Sargent’s Personnel Agency, Inc.                         Date

______________________________                               _______________
For Advance Sourcing Concepts LLC                            Date
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             Exhibit A
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                       EXHIBIT A

    Last Name         First Name        Payment Amount
    Alwine            Lynne                $9,563.36
    Anderson          Tajanae              $3,187.79
    Anderson          Kristi                $177.10
    Anteparra         Jose                 $5,578.63
    Blazina           Melissa             $11,600.00
    Blose             Paula                $4,870.23
    Caramila          Carole              $11,865.65
    Cave              Allison             $15,850.38
    Cedeno            Trinidad            $14,787.79
    DeAngelo          Rodney                $442.75
    Decker            William              $5,224.43
    Deitzer-Harvey    Maggie              $10,891.60
    Ephraim           Meyers              $10,625.95
    Flinn             Doree                $9,917.56
    Ford              Shanaya              $7,526.72
    Gerenda           Tammy               $15,761.83
    Gething           Rachel              $18,418.32
    Gibson            Felicia             $14,345.04
    Haberkorn         Cristy               $4,870.23
    Henretty          Kelly               $12,662.60
    Henry             Kelly                $2,125.19
    Hoherchak         Elizabeth            $4,604.58
    Holsopple         Joel                 $1,682.44
    Jordano           Alexa               $15,319.08
    Keefe             Kristin              $4,427.48
    Kemmer            Karen               $15,319.08
    Kifer             Robert               $6,375.57
    Kuehne            Kyle                 $6,287.02
    Layton            Elise                $8,412.21
    Levesque          Angelica            $10,625.95
    Lindblom          John                 $3,010.69
    McCracken         Kelly               $18,152.67
    Murphy            Shannon              $5,047.33
    Newcomb           Margaret             $3,276.34
    Orndorff          April                $8,589.31
    Raffensberger     Andrea               $1,239.69
    Renshaw           Jamie                $2,567.94
    Resick            Cynthia             $15,584.73
    Roberts           Jerry               $9,917.56
    Russell           Kimberly            $7,349.62
    Russell           Rudy                $1,859.54
    Shupe             Heidi               $6,552.67
    Stahley           Danielle            $6,729.77


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                       EXHIBIT A
    Swartz            Dawn                 $8,323.66
    Thompson          Jessica              $6,818.32
    Wadkins           Steve                $4,073.28
    White             Azasha              $10,183.21
    Williams          Cristine              $796.95
    Wright            Alissa               $7,438.17
    Yusko             Cynthia             $15,141.98
    TOTALS:                              $406,000.00




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             Exhibit B
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                                             RELEASE OF CLAIMS

      I, [INSERT NAME], understand that I am a plaintiff in one of the following lawsuits:
Anderson v. Liberty Healthcare Corporation, et al., 2:20-cv-03014 or Williams v. Liberty
Healthcare Corporation, et al., 2:21-cv-00691 (“the Actions”). The Actions are pending in the
United States District Court for the Eastern District of Pennsylvania (“the Court”).

       I understand that the Actions have been settled and that, if the Court approves the
settlement, Defendants Liberty Healthcare Corporation, Sargent’s Personnel Agency, Inc., and
Advance Sourcing Concepts LLC (together “the Companies”) will make a total combined
settlement payment of $585,000 to be divided as follows: (i) $406,000 will be divided among
myself and the other 49 plaintiffs covered by the Actions; (ii) $169,000 (equaling approximately
29% of the total payment) will be paid to Winebrake & Santillo, LLC as attorney’s fees and
expenses; and (iii) $5,000.00 service awards payments will be paid to the two individuals who
originated the lawsuit.

       I understand that the settlement will become final only if the Court approves the
settlement as fair and reasonable. I also understand that, if the settlement is approved, I will
receive a pre-tax payment of $[insert individual’s Payment Amount] (“Settlement Payment”). I
want to receive this Settlement Payment.

        I understand that my Settlement Payment will be made by payroll check, will be reduced by all
taxes and withholdings ordinarily paid by employees, and will be reflected in an IRS W-2 form mailed to me at
the end of the year.

         I understand and agree that, in exchange for my Settlement Payment, I (on behalf of
myself and my heirs, spouse, executors, assigns, and/or representatives) RELEASE the
Companies (as defined above) and any of their parents, franchisors, partners, subsidiaries,
owners, officers, directors, members, affiliates, predecessors, agents, employees, successors,
assigns, representatives, and/or other persons or entities acting on their behalf from all legal or
equitable claims (including, but not limited to, claims for the reimbursement of liquidated damages, interest,
penalties, attorney’s fees and litigation costs and expenses) arising prior to the date on which the Court approves
the settlement and either asserted in or reasonably related to the Action, including but not limited to all such claims
for unpaid regular or overtime wages under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq., the
Pennsylvania Minimum Wage Act, 43 P.S. §§ 333.101, et seq., the Pennsylvania Wage Payment and Collection
Law, 43 P.S. §§ 260.1, et seq., or any other federal, state, or local statute, regulation, rule, or common law theory.

         I have not assigned or transferred, or purported to assign or transfer, to any other person or entity any
rights or interests pertaining to the Actions, the settlement, or this Release of Claims.

         I have had an opportunity to discuss the settlement and this Release of Claims with my lawyers from the
law firm Winebrake & Santillo, LLC. I agree, of my own free will and without any duress or coercion of any
kind, to be bound by the terms of this Release of Claims if the Court approves the settlement of the Actions.

______________                                              _____________________________
Date                                                        Signature


Mail my settlement check to: ________________________________________________________________
